                 Case 1:22-cv-00379-GLR Document 45 Filed 05/11/22 Page 1 of 2


                              IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF MARYLAND
Compass Marketing, Inc.                                 *
      Plaintiff,
                                                        *
      v.                                                         Case No. 1:22-cv-00379-GLR
                                                        *
Flywheel Digital LLC, et al.
      Defendant.                                        *

                                 MOTION FOR ADMISSION PRO HAC VICE

            I,   Steven A. Luxton                  , am a member in good standing of the bar of this

Court. I am moving the admission of          Michael J. Ableson

to appear pro hac vice in this case as counsel for      Plaintiff, Compass Marketing, Inc. .


            We certify that:

            1. The proposed admittee is not a member of the Maryland bar and does not maintain
               any law office in Maryland

            2. The proposed admittee is a member in good standing of the bars of the following
               State Courts and/or United States Courts:

                      State Court & Date of Admission           U.S. Court & Date of Admission
                 State of New York - 3/12/12                U.S.D.C., S.D.N.Y - 3/19/13
                                                            U.S.D.C., E.D.N.Y. - 6/5/14
                                                            U.S.D.C., E.D. of MI - 5/29/19


            3. During the twelve months immediately preceding this motion, the proposed admittee
                                                            0
               has been admitted pro hac vice in this Court _______ time(s).

            4. The proposed admittee has never been disbarred, suspended, or denied admission to
               practice law in any jurisdiction. (NOTE: If the proposed admittee has been
               disbarred, suspended, or denied admission to practice law in any jurisdiction, then
               he/she must submit a statement fully explaining all relevant facts.)

            5. The proposed admittee is familiar with the Maryland Attorneys’ Rules of Professional
               Conduct, the Federal Rules of Civil Procedure, the Federal Rules of Evidence, the
               Federal Rules of Appellate Procedure, and the Local Rules of this Court, and
               understands he/she shall be subject to the disciplinary jurisdiction of this Court.

PHVMotion (12/2018)                                                                              Page 1 of 2
                 Case 1:22-cv-00379-GLR Document 45 Filed 05/11/22 Page 2 of 2


            6. The proposed admittee understands admission pro hac vice is for this case only and
               does not constitute formal admission to the bar of this Court.

            7. Either the undersigned movant or _________________________________________,
               is also a member of the bar of this Court in good standing, and will serve as co-
               counsel in these proceedings.

            8. The $100.00 fee for admission pro hac vice accompanies this motion.

            9. We hereby certify under penalties of perjury that the foregoing statements are true
               and correct.


MOVANT                                                   PROPOSED ADMITTEE

                      /s/                                            /s/
Signature                                                Signature   (Signed by Steven A. Luxton with permission of
                                                                                                       Michael J. Ableson)
Steven A. Luxton, #9812160173                            Michael J. Ableson
Printed name and bar number                              Printed name
Morgan, Lewis & Bockius LLP                              Morgan, Lewis & Bockius LLP
Office name                                              Office name

1111 Pennsylvania Ave., Washington, DC 20004             101 Park Ave., New York, NY 10178
Address                                                  Address
202 739 5452                                             212 309 6113
Telephone number                                         Telephone number
202 739 3001                                             212 309 6001
Fax Number                                               Fax Number
steven.luxton@morganlewis.com                            michael.ableson@morganlewis.com
Email Address                                            Email Address




PHVMotion (12/2018)                                                                                   Page 2 of 2
